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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                                                                                   September 29, 2016
                                UNITED STATES DISTRICT COURT
                                                                                    David J. Bradley, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                     MCALLEN DIVISION

FRANK X. GARZA, et al,                          §
                                                §
              Plaintiffs,                       §
VS.                                             § CIVIL ACTION NO. 7:16-CV-00143
                                                §
ESSEX INSURANCE COMPANY, et al,                 §
                                                §
              Defendants.                       §

                                           OPINION

         The Court now considers Essex Insurance Company and Ray Hernandez’s

(“Defendants”) motion for reconsideration,1 as well as Frank and Celia Garza’s (“Plaintiffs”)

response2 and Defendants’ reply.3 After duly considering the record and authorities the Court

DENIES Defendants’ reconsideration motion.

         I.        BACKGROUND

         This is an insurance case in which Plaintiffs’ insured property was damaged by a storm,

and Plaintiffs allege that Defendants failed to adequately compensate them for the damages.4

Plaintiffs sued Defendants in state court on March 4, 2016, and Defendants removed the case on

March 28, 2016.5 Plaintiffs filed their motion to remand on April 28, 2016,6 and Defendants

replied on May 2, 2016.7 The Court ultimately granted Plaintiffs’ remand motion on June 17,

2016.8 Defendants moved for reconsideration on June 22, 2016, arguing that the Court applied



1
  Dkt. No. 12.
2
  Dkt. No. 13.
3
  Dkt. No. 14.
4
  See generally Dkt. No. 1-1.
5
  Dkt. No. 1.
6
  Dkt. No. 8.
7
  Dkt. No. 10.
8
  Dkt. No. 11.

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the incorrect legal standard when making its determination.9 Plaintiffs responded on July 13,

2016,10 and Defendants replied on July 18, 2016.11

         II.      DISCUSSION

         Review of Defendants’ Rule 59(e) reconsideration motion is barred by 28 U.S.C.A. §

1447(d), which provides:

         An order remanding a case to the State court from which it was removed is not
         reviewable on appeal or otherwise, except that an order remanding a case to the
         State court from which it was removed pursuant to section 1442 or 1443 of this
         title shall be reviewable by appeal or otherwise.

         The Supreme Court has clarified that Section 1447(d) only applies when the remand in

question is made on the basis of Section 1447(c),12 which states in pertinent part: “If at any time

before final judgment it appears that the district court lacks subject matter jurisdiction, the case

shall be remanded.”13 In this case, the Court remanded specifically because “it lacks jurisdiction

because the parties are not completely diverse.”14 In other words, the Court remanded because it

found, before entering final judgment, that it lacked subject matter jurisdiction. As a result, the

Court’s remand was based on Section 1447(c), and Section 1447(d) is applicable in this instance.

         Section 1447(d) has an exception: it does not apply to actions that were initially removed

under 28 U.S.C.A. §§ 1442 or 1443. However, this exception has no application in the present

action, which was removed under Section 1441.15 Thus, even considering the exception, Section



9
  Dkt. No. 12.
10
   Dkt. No. 13.
11
   Dkt. No. 14.
12
   Powerex Corp. v. Reliant Energy Svcs., Inc., 551 U.S. 224, 229, 127 (2007) (“[Section 1447(d)] should be read in
pari materia with section 1447(c), so that only remands based on the grounds specified in the latter are shielded by
the bar on review mandated by the former.”).
13
   28 U.S.C.A. § 1447(c) (West).
14
   Dkt. No. 11 at p. 6.
15
   Dkt. No. 1. (“For the reasons set forth below, removal of the state court action is proper under 28 U.S.C. §§ 1332,
1441, and 1446.”).


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1447(d) is applicable here. Indeed, although the case law is relatively scant, courts within the

Fifth Circuit and elsewhere appear to uniformly apply Section 1447(d) to 59(e)-based challenges

to remand orders.16 The Court agrees.

        III.     HOLDING

        Pursuant to 28 U.S.C.A. Section 1447(d), the Court DENIES Defendants’ motion to

reconsider the Court’s remand order.

        IT IS SO ORDERED.

        DONE at McAllen, Texas, this 29th day of September, 2016.


                                                         ___________________________________
                                                         Micaela Alvarez
                                                         United States District Judge




16
  See All. Riggers & Constructors, Ltd. v. Restrepo, EP-14-CV-00408-DCG, 2015 WL 966324, at *1 (W.D. Tex.
Jan. 8, 2015); Easley v. Pace Concerts, Inc., No. CIV. A. 98–2220, 1999 WL 787652, at *1 (E.D. La. Oct.4, 1999)
(concluding that the court did not have jurisdiction to entertain a party's motion to reconsider a remand order);
Ballard v. D.C., 813 F. Supp. 2d 34, 43 (D.D.C. 2011) (denying Rule 59(e) motion challenging remand order
because of Section 1447(d)); Archuleta v. Taos Living Ctr., CIV 10-1150 JB/ACT, 2011 WL 6013057, at *2
(D.N.M. Dec. 1, 2011) (applying 1447(d) analysis to Rule 59(e) motion); Maggio Enters. v. Hartford Cas. Ins. Co.,
132 F.Supp.2d 930, 931 (D.Colo. 2001); Consol. Doors, Inc. v. Mid–America Door Co., 120 F.Supp.2d 759, 764
(E.D.Wis. 2000); First Union Nat'l Bank v. Hall, 123 F.3d 1374, 1377 (11th Cir.1997); In re Lowe, 102 F.3d 731,
734 (4th Cir.1996); In re La Providencia Dev. Corp., 406 F.2d 251, 252–53 (1st Cir.1969).

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